      Case 4:21-cv-00447 Document 1 Filed on 02/09/21 in TXSD Page 1 of 6




                           IN THE UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

MIRTALA HERNANDEZ                                    §
                                                     §
                                                     §       CIVIL ACTION NO. ____________
VS.                                                  §
                                                     §
WAL-MART STORES TEXAS, LLC                           §       DEFENDANT DEMANDS A JURY

                                   NOTICE OF REMOVAL

TO THE HONORABLE UNITED STATES DISTRICT COURT:

       COMES NOW, WAL-MART STORES TEXAS, LLC (“Defendant”), and files this Notice

of Removal, pursuant to 28 U.S.C. §§ 1441 and 1446, removing the above-captioned case to the

United States District Court for the Southern District of Texas, Houston Division. The grounds for

removal are as follows:

                      I. STATEMENT OF GROUND FOR REMOVAL

       1.      On January 6, 2021, Plaintiff, Mirtala Hernandez, (“Plaintiff”), commenced an

action in the 164th Judicial District Court of Harris County, Texas, captioned “Cause No. 2021-

00540; Mirtala Hernandez v. Wal-Mart Stores Texas, LLC,” in which she sought personal injury

damages allegedly resulting from an incident that occurred on or about July 25, 2020 (the

“Incident”), at Wal-Mart Store #2257 (the “Store”) in Houston, Texas.

       2.      The state court action is one over which this Court has original jurisdiction under

the provisions of 28 U.S.C. § 1332, and may be removed to this Court pursuant to the provisions

of 28 U.S.C. § 1441, in that it is a civil action wherein the matter in controversy exceeds the sum

or value of $75,000.00, exclusive of interest and costs, and diversity of citizenship exists between

properly joined parties.
      Case 4:21-cv-00447 Document 1 Filed on 02/09/21 in TXSD Page 2 of 6




                  II. PROCEDURAL REQUIREMENTS FOR REMOVAL

       3.      Upon filing of this Notice of Removal of the cause, Defendant gave written notice

of the filing to Plaintiff and her counsel as required by law. A copy of this Notice is also being

filed with the Clerk of the Court in Harris County, Texas, where this cause was originally filed. A

copy of all processes, pleadings, and orders has been filed separately with this Court pursuant to

28 U.S.C. § 1446(a).

       4.      Removal is timely as the first date upon which Defendant, or its agents, received

Plaintiff’s Original Petition and Citation was on January 11, 2021, which is less than 30 days

before this removal notice. 28 U.S.C. § 1446(b). See Exhibit A, Plaintiff’s Original Petition.

                                           III. VENUE

       5.      This is a statutorily proper venue under the provisions of 28 U.S.C. § 1441(a)

because this district and division embrace the county where the removed action was pending.

                                          IV. PARTIES

       6.      According to her Original Petition, Plaintiff was a citizen of Harris County, Texas

at the time suit was commenced. See Exhibit A, at Section II.

       7.      Although corporations are citizens of the state in which they are incorporated,

partnerships and other unincorporated entities are citizens of all states in which its partners or

members are citizens. See Grupo Dataflux v. Atlas Global Group, L.P., 541 U.S. 567, 569 (2004).

       8.      Defendant, Wal-Mart Stores Texas, L.L.C., is a Delaware limited liability

company, and is an indirectly, wholly-owned subsidiary of Walmart Inc. The sole member of Wal-

Mart Stores Texas, L.L.C. is Wal-Mart Real Estate Business Trust. The sole unit holder of Wal-

Mart Real Estate Business Trust is Wal-Mart Property Co., which is a wholly owned subsidiary of

Wal-Mart Stores East, L.P. Wal-Mart Stores East, L.P. is a Delaware limited partnership, of which



                                                 2
         Case 4:21-cv-00447 Document 1 Filed on 02/09/21 in TXSD Page 3 of 6




WSE Management, L.L.C. is the general partner and WSE Investment, L.L.C. is the limited

partner. The sole member of WSE Management, L.L.C. and WSE Investment, L.L.C. is Wal-Mart

Stores East, L.L.C. (f/k/a Wal-Mart Stores East, Inc.), whose parent company is Walmart Inc. The

principal place of business of Wal-Mart Stores Texas, L.L.C. is Bentonville, Arkansas. Walmart

Inc. is a Delaware corporation with its principal place of business in Arkansas. Accordingly, there

is complete diversity of citizenship between Plaintiff and Defendant. 28 U.S.C. §§ 1332, 1441.

         9.    The citizenship of the parties as alleged above existed at the time the underlying

action was commenced and remain unchanged at the time of removal.

                              V. PLAINTIFF’S ALLEGATIONS

         10.   Plaintiff claims that while on Defendant’s property, she tripped and fell and

sustained injuries. See Ex. A, at Section IV. As a result, Plaintiff brings claims of negligence and

premises liability against Defendant. Id. at Sections V and VI.

                      VI. JURISDICTIONAL BASIS FOR REMOVAL

         11.   Pursuant to 28 U.S.C. § 1332(a)(1), federal district courts have original jurisdiction

of civil actions in which the parties are citizens of different states, and the amount in controversy

exceeds $75,000.00. The removing defendant has the burden to show that proper federal diversity

jurisdiction exists to sustain removal. Allen v. R & H Oil & Gas, Co., 63 F.3d 1326, 1335 (5th Cir.

1995).

         12.   The relevant jurisdictional facts are to be judged as of the time of removal. Allen,

63 F.3d at 1335. Subsequent events, such as filing an amended complaint specifically reducing the

amount of damages sought, cannot deprive the court of jurisdiction once it has attached. Gebbia v.

Wal-Mart Stores, Inc., 233 F.3d 880, 883 (5th Cir. 2000).




                                                 3
      Case 4:21-cv-00447 Document 1 Filed on 02/09/21 in TXSD Page 4 of 6




A.     Amount in Controversy Exceeds $75,000.00.

       13.     A defendant can carry its burden by showing that it is either facially apparent from

a plaintiff’s petition that the plaintiff’s claims are likely to exceed $75,000.00, or by presenting

summary judgment-type evidence that the amount in controversy is likely to exceed the

jurisdictional minimum. Gebbia, 233 F.3d at 881; St. Paul Reinsurance Co., Ltd. v. Greenberg,

134 F.3d 1250, 1253 (5th Cir. 1998). Such “tests are applied in order, and only if the “facially

apparent” test is not met, do we require “summary judgment” type evidence of the amount in

controversy.” Pollet v. Sears Roebuck & Co., 46 Fed. Appx. 226, *2-3 (5th Cir. 2002).

       14.     Here, it is facially apparent that the amount in controversy in the instant case

exceeds $75,000. See Gebbia, 233 F.3d at 881. Plaintiff has alleged that she is seeking relief in

excess of “over $250,000.00 and not less than $1,000,000.00”. See Ex. A, at Section III, Subpart

a. By pleading damages in excess of $250,000.00, Plaintiff acknowledges that she is seeking at

least a sum of damages in a six-figure range, clearly exceeding the $75,000.00 threshold.

       15.     Defendant has produced ample evidence for the Court to find removal appropriate.

Defendant has met its burden to prove by a preponderance of the evidence that Plaintiff’s claims

are likely to exceed $75,000.00. Consequently, the Court can find that the amount in controversy

requirement has been satisfied to have this case properly removed to this Court.

B.     Diversity of Citizenship

       16.     As set forth, supra, Plaintiff is a citizen of the State of Texas and Defendant is

composed of companies organized under the laws of Delaware and Arkansas, with its principal

place of business in the State of Arkansas. None of Defendant’s partners or members are citizens

of the State of Texas. As such, Defendant has met its burden of establishing that diversity of

citizenship exists between the parties.



                                                 4
       Case 4:21-cv-00447 Document 1 Filed on 02/09/21 in TXSD Page 5 of 6




                                       VII. CONCLUSION

       17.     Defendant has established by a preponderance of the evidence that the amount in

controversy exceeds $75,000.00. Additionally, Defendant has established that diversity of

citizenship exists between the parties in this case. Therefore, the Court should find that removal is

proper in this case.

                                         VIII. PRAYER

       WHEREFORE, Defendant, Wal-Mart Stores Texas, LLC prays that this Court find that the

above-styled action now pending in the 164th Judicial District of Harris County, Texas, be removed

therefrom to this Honorable Court.

                                                      Respectfully submitted,

                                                      BUSH & RAMIREZ, PLLC


                                                      /s/ Ciara Perritano
                                                      John A. Ramirez
                                                      Attorney in Charge
                                                      TBN: 00798450
                                                      FBN: 21280
                                                      Ciara Perritano
                                                      TBN: 24096440
                                                      FBN: 3530917
                                                      5615 Kirby Drive, Suite 900
                                                      Houston, Texas 77005
                                                      (713) 626-1555 Telephone
                                                      (713) 622-8077 Telecopier
                                                      jramirez.atty@bushramirez.com
                                                      cperritano.atty@bushramirez.com

                                                      ATTORNEYS FOR DEFENDANT,
                                                      WAL-MART STORES TEXAS, LLC




                                                 5
      Case 4:21-cv-00447 Document 1 Filed on 02/09/21 in TXSD Page 6 of 6




                               CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing instrument has been sent to all interested
counsel of record in accordance with the RULES OF CIVIL PROCEDURE on this the 9th day of
February 2021.

              Annie Basu
              P. O. Box 24118537
              Houston, Texas 77255
              info@basulaw.com


                                                   /s/ Ciara Perritano
                                                   John A. Ramirez | Ciara Perritano




                                              6
